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Case 1:23-cr-02066-SAB ECFNo.1 filed 12/12/23. PagelD.1 Page 1 of 7

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United States Attorney FILED IN THE US. Diora ep

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

NEC 1? 2099

UNITED STATES OF AMERICA,
1:23-CR-2066-SAB

Plaintiff, INDICTMENT
V. Vio.: 18 U.S.C, §§ 472, 2
Passing of Counterfeit
KIONGOZI RANN JONES, JR. and Currency
BETHANY LISSETTE MORENO, (Counts 1-9)
Defendants. 18 U.S.C. § 492, 18 U.S.C, §

982(a)(2)(B), 28 U.S.C. § 2461
Forfeiture Allegations

The Grand Jury charges:
COUNT 1
On or about July 29, 2022, in the Eastern District of Washington, the
Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE
MORENO, with the intent to defraud, passed twenty-four (24) falsely made, forged,
and counterfeit $20 Federal Reserve Notes: one bearing serial number

EH18281332C, two bearing serial number JF92381332C, two bearing serial

INDICTMENT -— 1

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Case 1:23-cr-02066-SAB ECFNo.1 filed 12/12/23. PagelD.2 Page 2 of 7

number EE20381332C, six bearing serial number EF28381332C, and thirteen
bearing serial number HE31389288C, which the Defendants, KIONGOZI RANN
JONES, JR. and BETHANY LISSETTE MORENO, knew to be falsely made,
forged, and counterfeit, to the 7-11, located at 120 N. 1st Street, Selah, WA, 98942,
in violation of 18 U.S.C. §§ 472, 2.
COUNT 2
On or about July 29, 2022, in the Eastern District of Washington, the
Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE
MORENO, with the intent to defraud, passed six (6) falsely made, forged, and
counterfeit $20 Federal Reserve Notes: one bearing serial number EF28381332C
and five bearing serial number HE31389288C, which the Defendants, KIONGOZI
RANN JONES, JR. and BETHANY LISSETTE MORENO, knew to be falsely
made, forged, and counterfeit, to the Topp Mart, located at 907 West Ist Ave.,
Toppenish, WA, 98948, in violation of 18 U.S.C. §§ 472, 2.
COUNT 3
On or about July 29, 2022, in the Eastern District of Washington, the
Defendant, KIONGOZI RANN JONES, JR., with the intent to defraud, passed
twenty-three (23) falsely made, forged, and counterfeit $20 Federal Reserve Notes:
one bearing serial number JL55349288C, three bearing serial number

HE31389288C, five bearing serial number EE20381332C, three bearing serial

INDICTMENT — 2
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Case 1:23-cr-02066-SAB ECFNo.1 filed 12/12/23. PagelD.3 Page 3 of 7

number EH18281332C, and eleven bearing serial number EF28381332C, which the
Defendant, KIONGOZI RANN JONES, JR., knew to be falsely made, forged, and
counterfeit, to the 7-11, located at 87 9th Street NE, East Wenatchee, WA, 98802,
in violation of 18 U.S.C. §§ 472, 2.
COUNT 4
On or about July 29, 2022, in the Eastern District of Washington, the
Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE
MORENO, with the intent to defraud, passed two (2) falsely made, forged, and
counterfeit $20 Federal Reserve Notes: one bearing serial number HE31389288C
and one bearing serial number EF28381332C, which the Defendants, KIONGOZI
RANN JONES, JR. and BETHANY LISSETTE MORENO, knew to be falsely
made, forged, and counterfeit, to the Grant Road Food and Fuel, located at 96 Grant
Rd., East Wenatchee, WA, 98802, in violation of 18 U.S.C. §§ 472, 2.
COUNT 5
On or about July 29, 2022, in the Eastern District of Washington, the
Defendant, BETHANY LISSETTE MORENO, with the intent to defraud, passed
one (1) falsely made, forged, and counterfeit $20 Federal Reserve Note bearing
serial number EF28381332C, which the Defendant, BETHANY LISSETTE

MORENO, knew to be falsely made, forged, and counterfeit, to the Waigreens,

INDICTMENT — 3

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Case 1:23-cr-02066-SAB ECFNo.1 filed 12/12/23. PagelD.4 Page 4 of 7

located at 470 Grant Rd., East Wenatchee, WA, 98802, in violation of 18 U.S.C.
§§ 472, 2.
COUNT 6
On or about July 29, 2022, in the Eastern District of Washington, the
Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE
MORENO, with the intent to defraud, passed twenty-five (25) falsely made, forged,
and counterfeit $20 Federal Reserve Notes: six bearing serial number
EF28381332C, ten bearing serial number HE31389288C, three bearing serial
number EE20381332C, two bearing serial number JL55349288C, two bearing serial
number JF92381332C, and two bearing serial number EH18281332C, which the
Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE
MORENO, knew to be falsely made, forged, and counterfeit, to the Circle K,
located at 204 S. Main St., Ellensburg, WA, 98926, in violation of 18 U.S.C.
§§ 472, 2.
COUNT 7
On or about July 29, 2022, in the Eastern District of Washington, the
Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE
MORENO, with the intent to defraud, passed one (1) falsely made, forged, and
counterfeit $20 Federal Reserve Note bearing serial number EE20381332C which

the Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE

INDICTMENT -— 4
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Case 1:23-cr-02066-SAB ECFNo.1 filed 12/12/23. PagelD.5 Page 5 of 7

MORENO, knew to be falsely made, forged, and counterfeit, to the 7-11, located at
1001 E. University Way, Ellensburg, WA, 98926, in violation of 18 U.S.C. §§ 472,
2.
COUNT 8
On or about July 29, 2022, in the Eastern District of Washington, the
Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE
MORENO, with the intent to defraud, passed twenty-four (24) falsely made, forged,
and counterfeit $20 Federal Reserve Notes: two bearing serial number
JF92381332C, two bearing serial number EH18281332C, four bearing serial
number EE20381332C, five bearing serial number JL55349288C, five bearing
serial number HE31389288C, and six bearing serial number EF28381332C which
the Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE
MORENO, knew to be falsely made, forged, and counterfeit, to the 7-11, located at
1504 W Sylvester Street, Pasco, WA, 99301, in violation of 18 U.S.C. §§ 472, 2.
COUNT 9
On or about July 31, 2022, in the Eastern District of Washington, the
Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE
MORENO, with the intent to defraud, passed sO set (48) falsely made, forged,

and counterfeit $20 Federal Reserve Notes: one bearing serial number

BE20381332C, three bearing serial number JF92381332C, three bearing serial

INDICTMENT ~ 5

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Case 1:23-cr-02066-SAB ECFNo.1 filed 12/12/23. PagelD.6 Page 6 of 7

number JL55349288C, five bearing serial number EF28381332C, seven bearing
serial number EH18281332C, and twenty-nine bearing serial number bearing
HE31389288C which the Defendants, KIONGOZI RANN JONES, JR. and
BETHANY LISSETTE MORENO, knew to be falsely made, forged, and
counterfeit, to the Walgreens, located at 425 Bridge St., Clarkston, WA, 99403, in
violation of 18 U.S.C. §§ 472, 2. -

NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

The allegations contained in this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeitures.

Pursuant to 18 U.S.C. § 982(a)(2)(B), upon conviction of an offense in
violation of 18 U.S.C. §§ 472, 2, as set forth in this Indictment, the Defendants
KIONGOZI RANN JONES, JR. and BETHANY LISSETTE MORENO, shall
forfeit to the United States of America any property constituting, or derived from,
any proceeds obtained, directly or indirectly, as the result of such violation.

Pursuant to 18 U.S.C. § 492 and 28 U.S.C. § 2461(c), upon conviction of an
offense in violation of 18 U.S.C. §§ 472, 2, as set forth in this Indictment, the
Defendants, KIONGOZI RANN JONES, JR. and BETHANY LISSETTE
MORENO shall forfeit to the United States of America, all counterfeits of any coins
or obligations or other securities of the United States or of any foreign government;

any articles, devices, and other things made, possessed, or used in violation of 18

INDICTMENT — 6

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Case 1:23-cr-02066-SAB ECFNo.1 filed 12/12/23. PagelD.7 Page 7 of 7

U.S.C. § 472; and, any material or apparatus used or fitted, or intended to be used,
in the making of such counterfeits, articles, devices, or things, found in the
possession of the Defendant without proper authority.

If any forfeitable property, as a result of any act or omission of the

Defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property, which cannot be divided

without difficulty,

the United States of America shall be entitled to forfeiture of substitute property
pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) or 28
U.S.C. § 2461(c).

4.
DATED this } day of December, 2023.

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Ydney Welk
Vanessa R. Waldref
United States Attorney

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Christopher J. Bridger
Assistant United States Attorney

INDICTMENT — 7

